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                             EXHIBIT J
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From:             securefilecollaboration@doc.gov
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To:               Koenig, Michael (ATR) <Michael.Koenig@usdoj.gov>; Taylor, Lanard D. (CID) (FBI)
                  <ldtaylor@fbi.gov>; Call, Heather (ATR) <Heather.Call@usdoj.gov>; Butte, Laura
                  (ATR) <Laura.Butte@usdoj.gov>
Subject:          LITTLE interview




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           Matt



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